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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                      Middle District
                                                   __________ DistrictofofFlorida
                                                                           __________

                  United States of America                         )
                             v.                                    )
                 EZEQUIEL ORTIZ-SERDA
                                                                   )      Case No.
                                                                   )                 2:25-mj-01140-KCD
                                                                   )
                                                                   )
                                                                   )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     May 29, 2025               in the county of              Charlotte       in the
        Middle         District of              Florida        , the defendant(s) violated:

            Code Section                                                     Offense Description
8 U.S.C. 1326(a)                                               Illegal Reentry after Deportation




          This criminal complaint is based on these facts:
See Attached Affidavit.




          ✔ Continued on the attached sheet.
          u

                                                                                              /s/ David W. Strange
                                                                                              Complainant’s signature

                                                                            BPA, David W. Strange, United States Border Patrol
                                                                                               Printed name and title

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Date:             05/30/2025
                                                                                                 Judge’s signature

City and state:                         Fort Myers, Florida                    Kyle C. Dudek, United States Magistrate Judge
                                                                                               Printed name and title
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            AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

       I, David W. Strange, being duly sworn, hereby depose and state as follows:

       1.     I am a United States Border Patrol Agent and have been so employed

since June 15, 1998.

      2.      In my capacity as a Border Patrol Agent, I am charged with enforcing

U.S. immigration laws, both administrative and criminal.            I am a federal law

enforcement officer with the authority to execute arrest warrants and search warrants

under the authority of the United States.

      3.      This affidavit is submitted in support of a criminal complaint. The

statements contained in this affidavit are based on my personal experiences and

observations as well as those of other law-enforcement officers. This affidavit does not

contain every fact known to me relating to the investigation, but rather sets out only

the facts that I believe are necessary to establish probable cause to believe that Ezequiel

ORTIZ-Serda is an alien voluntarily in the United States after removal without

permission from the Attorney General or Secretary of Homeland Security, in violation

of 8 U.S.C. § 1326(a).

                         FACTS AND CIRCUMSTANCES

       4.     On May 29, 2025, Charlotte County Deputy Peter DiPiazza stopped a

1997 blue Buick LeSabre for a window-tint violation. Deputy DiPiazza asked for

identification from all three occupants. The rear passenger, Ezequiel ORTIZ-Serda,

provided a photo of his Mexican passport biographical page. I ran that name and date
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of birth through several law-enforcement databases and found that name and date of

birth was associated with an assigned Alien Registration Number 205 850 696 showing

two removals from the United States in 2013 and 2023.

      5.     I arrived at the traffic stop and interviewed ORTIZ-Serda. I identified

myself as a Border Patrol Agent. I asked ORTIZ-Serda where he was from, and he

stated “Mexico.” I asked him if he had any immigration documents allowing him to

remain in the United States legally, and he stated “No.” I fingerprinted ORTIZ-Serda.

An automated fingerprint identification and matching system (IDENT) created by the

Department of Homeland Security’s Office of Biometric Identity Management

indicated that ORTIZ-Serda’s fingerprints matched those associated with the

individual assigned alien registration number 205 850 696 who had been deported in

2013 and 2023.

      6.     After fingerprinting ORTIZ-Serda, I read him his Miranda rights in

English; I asked ORTIZ-Serda if he understood his rights, and he stated that he did.

I showed ORTIZ-Serda a photo from IDENT from his 2023 removal. I asked

ORTIZ-Serda who the person in the photo was, and he stated that it was him. I asked

ORTIZ-Serda if he had been removed from the United States in 2023, and he stated,

“Yes.” I showed ORTIZ-Serda a photo from IDENT from his 2013 removal. I asked

ORTIZ-Serda who the person in the photo was, and he stated that it was him. I asked

ORTIZ-Serda if he was removed from the United States in 2013, and he stated, “Yes.”

I asked ORTIZ-Serda if he entered the United States voluntarily, and he stated, “Yes.”
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I asked if he entered illegally, and he stated, “Yes.” I reminded ORTIZ-Serda that he

needed permission from the Attorney General or DHS Secretary to re-enter the United

States. I asked ORTIZ-Serda if he had ever sought the permission, and he stated,

“No.”

        7.   On May 29, 2025, I conducted a search of government databases and

found no record showing that ORTIZ-Serda had ever requested or received

permission from the Attorney General, the Secretary of Homeland Security, or any

other immigration official to reenter the United States after her deportation. If

ORTIZ-Serda had sought or received such permission, a record of such would have

been present in the databases searched.

                                     CONCLUSION

        8.   Based on the foregoing facts, I respectfully submit that there is probable

cause to believe that Ezequiel ORTIZ-Serda is an alien found voluntarily in the

United States after removal without having obtained permission from the Attorney

General or Secretary of Homeland Security to reapply for admission, in violation of 8

U.S.C. § 1326(a).

                                            _/s/ David W. Strange _________
                                            David W. Strange
                                            United States Border Patrol
Sworn to and subscribed to me via telephone on
      30
this ______ day of May, 2025, in Fort Myers, Florida.


__________________________
Kyle C. Dudek
United States Magistrate Judge
